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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA

    ALEX A., by and through his guardian,               )
    Molly Smith; BRIAN B.; and CHARLES                  )
    C., by and through his guardian, Kenione            )
    Rogers, individually and on behalf of all           )
    others similarly situated,                          )

           Plaintiffs,                                  )
                                                        )
    v.                                                  )   Civ. A. No. 3:22-CV-00573-SDD-RLB
                                                        )
    GOVERNOR JOHN BEL EDWARDS, in                       )
    his official capacity as Governor of                )   DEFENDANTS’ RESPONSE IN
    Louisiana; WILLIAM SOMMERS, in his                  )   OPPOSITION TO PLAINTIFFS’ EX
    official capacity as Deputy Secretary of the        )   PARTE MOTION FOR EXPEDITED
    Office of Juvenile Justice, JAMES M.                )   CONSIDERATION OF CLASS
    LEBLANC, in his official capacity as                )   MOTION FOR ACCESS TO COUNSEL
    Secretary of the Louisiana Department of            )
    Public Safety & Corrections,                        )
                                                        )
                                                        )
           Defendants.                                  )

          NOW INTO COURT, through undersigned counsel, come Defendants John Bel Edwards,

in his official capacity as Governor of Louisiana; Otha “Curtis” Nelson, 1 in his official capacity as

Deputy Secretary of the Office of Juvenile Justice (“OJJ”); and James M. LeBlanc, in his official

capacity as Secretary of the Louisiana Department of Public Safety & Corrections (collectively

“Defendants”), who respond to Plaintiffs’ Ex Parte Motion for Expedited Consideration of Class

Motion for Access to Counsel (the “Motion for Expedited Consideration,” Doc. 263).

          On September 12, 2023, Plaintiffs filed the Class Motion for Access to Counsel (the

“Access to Counsel Motion,” Doc. 262). Plaintiffs then sought expedited consideration of the



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  On November 18, 2022, Governor Edwards announced the resignation of Deputy Secretary Sommers and the
appointment of Otha “Curtis” Nelson as his replacement. https://gov.louisiana.gov/index.cfm/newsroom/detail/3892.
Because Sommers was sued in his official capacity, Nelson is automatically substituted as a Defendant. Fed. R. Civ.
P. 25(d).

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Access to Counsel Motion. Doc. 263. In their Motion for Expedited Consideration, Plaintiffs

indicate that there are “emergent circumstances” that warrant this Court’s expedited review. Doc.

263 at 1. However, Plaintiffs do not detail what “emergent circumstances” exist. Plaintiffs instead

refer the Court to their Access to Counsel Motion and Memorandum in Support (Doc. 262), but

the “emergent circumstances” are not found there either. In fact, the Access to Counsel Motion

does not request any specific relief other than to “permit undersigned counsel confidential legal

visits” with members of the putative class. Doc. 262-1 at 1. Plaintiffs do not include a request for

any sort of emergency relief or a date by which the requested legal visits must occur.

       Moreover, neither the named plaintiffs nor the putative class members have been denied

access to counsel. At 1:24 p.m. on September 12, 2023, Plaintiffs’ counsel made a generic request

to visit unnamed class members and that such visits occur on Thursday, September 14, 2023. At

2:27 p.m. on September 12, 2023, Defendants responded, requesting that attorney visits be

conducted at a later date due to the OJJ’s ongoing efforts to comply with this Court’s ruling that

all youth must be removed from the Bridge City Center for Youth at West Feliciana (“BCCY-

WF”) facility no later than Friday, September 15, 2023 (Doc. 257). See Doc. 262-6 at 3. Though

the Fifth Circuit Court of Appeals today granted an administrative stay of the Preliminary

Injunction, the administrative stay is not for a definite period of time and, therefore, Defendants

must continue in their efforts to comply with the terms of the Preliminary Injunction.

       Additionally, Plaintiffs’ request to meet with putative class members has certain legal

issues that require careful consideration, including, but not limited to:

       1. Most of the putative class members are minors, and parental/guardian consent must be

           obtained before Plaintiffs’ counsel can access the minors; and




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       2. By statute, the identities of Youth in OJJ’s custody is confidential and cannot be

           disclosed.

       Because Plaintiffs appear to be seeking a general order from the Court permitting counsel

to conduct confidential legal visits, there is no reason for the Court to consider the Access to

Counsel Motion on an expedited basis. Instead, the motion should be set for a normal briefing

schedule to address the important issues raised above.

       For these reasons, Plaintiffs’ Ex Parte Motion for Expedited Consideration of Class Motion

for Access to Counsel should be denied.

       Dated: September 13, 2023.

                                             Respectfully submitted:

                                             BY:    /s/ Connell L. Archey
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                                                      Anna.Morris@butlersnow.com

                                                      Counsel for Defendants
                                                      GOVERNOR JOHN BEL EDWARDS, in
                                                      his official capacity as Governor of
                                                      Louisiana; WILLIAM SOMMERS, in his
                                                      official capacity as Deputy Secretary of the
                                                      Office of Juvenile Justice; and JAMES M.
                                                      LEBLANC, in his official capacity as
                                                      Secretary of the Louisiana Department of
                                                      Public Safety & Corrections

                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has this day been filed electronically
with the Clerk of Court using the CM/ECF system, which will deliver notice of this filing to all
counsel of record.

        Baton Rouge, Louisiana this 13 day of September, 2023.

                                                       /s/ Connell L. Archey
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